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 9                                    UNITED STATES DISTRICT COURT

10                                 NORTHERN DISTRICT OF CALIFORNIA

11                                             SAN JOSE DIVISION

12
     UNITED STATES OF AMERICA,                        ) CASE NO. CR 10-0827 LHK
13                                                    )
             Plaintiff,                               ) [PROPOSED] PRELIMINAY ORDER OF
14                                                    ) FORFEITURE
        v.                                            )
15                                                    )
     ZHIQIANG ZHANG,                                  )
16        a/k/a Michael Zhang,                        )
                                                      )
17           Defendant.                               )
                                                      )
18

19           Having considered the application for a preliminary order of forfeiture filed by the United States
20 and the plea agreement entered on April 08, 2013, wherein the defendant admitted to the forfeiture

21 allegation, and good cause appearing,

22           IT IS HEREBY ORDERED that the following property is forfeited to the United States:
23           a. Dell laptop computer, model number PP25L, serial number 3N84VF1;
24           b. Dell Power Edge SC430 Server, serial number GQ13Y91;
25           c. 2GB Thumb Drive;
26           d. 512M Thumb Drive; and
27           e. Compact disc labeled “Kingsway Tek”,
28 pursuant to Title 18, United States Code, Section 1834.
     [PROPOSED] PRELIMINARY ORDER OF FORFEITURE
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 1          IT IS FURTHER ORDERED that the United States, through its appropriate agency, shall seize

 2 the forfeited property forthwith and publish on www.forfeiture.gov, a government website for at least

 3 thirty days, notice of this Order, notice of the government’s intent to dispose of the property in such

 4 manner as the Attorney General may direct and provide notice that any person, other than the defendant,

 5 having or claiming a legal interest in the property, must file a petition with the Court and serve a copy

 6 on government counsel with (30) days of the final publication of notice or of receipt of actual notice,

 7 whichever is earlier.

 8          IT IS FURTHER ORDERED that, the government may conduct discovery in order to identify,
 9 locate or dispose of property subject to forfeiture in accordance with Rule 32.2(b)(3) of the Federal
10 Rules of Criminal Procedure; and

11          IT IS FURTHER ORDERED that the Court to retain jurisdiction to enforce the Preliminary
12 Order of Forfeiture, and to amend it as necessary, pursuant to Federal Rule of Criminal Procedure

13 32.2(e).

14          Defendant Zhiqiang Zhang was sentenced on January 29, 2014. As part of his sentence, the
15 Court ordered the forfeiture of the subject property, which was incorporated in the Judgment and

16 Commitment, entered on February 04, 2014.

17
                   IT IS SO ORDERED this 5th           day of     April             2014.
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20                                                ___________________________
                                                  LUCY H. KOH
21                                                United States District Judge
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     [PROPOSED] PRELIMINARY ORDER OF FORFEITURE
     CR 10-0827 LHK                          2
